              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT

                         EMMANUEL MERANVIL,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.

                             No. 2D2023-0578


                              August 21, 2024

Appeal from the Circuit Court for Manatee County; Diana Moreland and
Frederick P. Mercurio, Judges.

Howard L. Dimmig, II, Public Defender, and Caroline Joan S. Picart,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Helene S. Parnes,
Senior Assistant Attorney General, Tampa, for Appellee.

PER CURIAM.

      Affirmed.

KELLY, ROTHSTEIN-YOUAKIM, and LABRIT, JJ., Concur.


Opinion subject to revision prior to official publication.
